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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA                            )
                                                    )     8:05CR180
                      Plaintiff,                    )
                                                    )
       vs.                                          )     DETENTION ORDER
                                                    )
ANGEL RAMON SANDOVAL,                               )
                                                    )
                  Defendant.                        )

A. Order For Detention
   After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform
   Act on July 11, 2005, the Court orders the above-named defendant detained pursuant to
   18 U.S.C. § 3142(e) and (i).

B. Statement Of Reasons For The Detention
   The Court orders the defendant’s detention because it finds:
    X    By a preponderance of the evidence that no condition or combination of conditions
         will reasonably assure the appearance of the defendant as required.
    X    By clear and convincing evidence that no condition or combination of conditions
         will reasonably assure the safety of any other person or the community.

C. Finding Of Fact
   The Court’s findings are based on the evidence which was presented in court and that
   which was contained in the Pretrial Services Report, and includes the following:
     X   (1) Nature and circumstances of the offense charged:
           X      (a) The crime: a conspiracy to distribute and posses with intent to
                      distribute in excess of 50 grams of methamphetamine (Count I) in
                      violation of 21 U.S.C. § 846 carries a minimum sentence of five years
                      imprisonment and a maximum of forty years imprisonment; the
                      possession with intent to distribute methamphetamine (Count II) in
                      violation of 21 U.S.C. § 841(a)(1) carries a maximum sentence of
                      twenty years imprisonment; and the possession with intent to distribute
                      in excess of 50 grams of methamphetamine (Count III) in violation of
                      21 U.S.C. § 841(a)(1) carries a minimum sentence of five years
                      imprisonment and a maximum of forty years imprisonment.
                  (b) The offense is a crime of violence.
                  (c) The offense involves a narcotic drug.
                  (d) The offense involves a large amount of controlled substances, to wit:

             (2) The weight of the evidence against the defendant is high.
     X       (3) The history and characteristics of the defendant including:
                   (a) General Factors:
                             The defendant appears to have a mental condition which may
                             affect whether the defendant will appear.
                         X The defendant has no family ties in the area.
                         X The defendant has no steady employment.
                         X The defendant has no substantial financial resources.
                         X The defendant is not a long time resident of the community.
                         X The defendant does not have any significant community ties.
                             Past conduct of the defendant:
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                      X   The defendant has a history relating to drug abuse.
                      X   The defendant has a history relating to alcohol abuse.
                          The defendant has a significant prior criminal record.
                      X The defendant has a prior record of failure to appear at court
                          proceedings.
               (b) At the time of the current arrest, the defendant was on:
                          Probation
                          Parole
                          Release pending trial, sentence, appeal or completion of
                          sentence.
               (c) Other Factors:
                      X The defendant is an illegal alien and is subject to deportation.
                          The defendant is a legal alien and will be subject to deportation
                          if convicted.
                          The Bureau of Immigration and Custom Enforcement (BICE) has
                          placed a detainer with the U.S. Marshal.
                          Other:
     X   (4) The nature and seriousness of the danger posed by the defendant’s release
             are as follows: The nature of the charges in the Indictment.

     X   (5) Rebuttable Presumptions
             In determining that the defendant should be detained, the Court also relied on
             the following rebuttable presumption(s) contained in 18 U.S.C. § 3142(e)
             which the Court finds the defendant has not rebutted:
           X    (a) That no condition or combination of conditions will reasonably assure
                     the appearance of the defendant as required and the safety of any
                     other person and the community because the Court finds that the crime
                     involves:
                           (1) A crime of violence; or
                           (2) An offense for which the maximum penalty is life
                               imprisonment or death; or
                       X (3) A controlled substance violation which has a maximum
                               penalty of 10 years or more; or
                           (4) A felony after the defendant had been convicted of two or
                               more prior offenses described in (1) through (3) above, and
                               the defendant has a prior conviction for one of the crimes
                               mentioned in (1) through (3) above which is less than five
                               years old and which was committed while the defendant was
                               on pretrial release.
           X    (b) That no condition or combination of conditions will reasonably assure
                     the appearance of the defendant as required and the safety of the
                     community because the Court finds that there is probable cause to
                     believe:
                       X (1) That the defendant has committed a controlled substance
                               violation which has a maximum penalty of 10 years or more.
                           (2) That the defendant has committed an offense under 18
                               U.S.C. § 924(c) (uses or carries a firearm during and in
                               relation to any crime of violence, including a crime of
                               violence, which provides for an enhanced punishment if
                               committed by the use of a deadly or dangerous weapon or
                               device).

D. Additional Directives
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   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
         1. The defendant be committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable from
              persons awaiting or serving sentences or being held in custody pending
              appeal; and
         2. The defendant be afforded reasonable opportunity for private consultation
              with counsel; and
         3. That, on order of a court of the United States, or on request of an attorney for
              the government, the person in charge of the corrections facility in which the
              defendant is confined deliver the defendant to a United States Marshal for the
              purpose of an appearance in connection with a court proceeding.

DATED:    July 11, 2005.                BY THE COURT:
                                        s/Thomas D. Thalken
                                        United States Magistrate Judge
